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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION


SGC Health Group, Inc d/b/a The Health Group
Plaintiff
v.                                                             3:15-cv-01139-B
                                                               Civil Action No.
eClinicalWorks, LLC
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Plaintiff SGC Health Group, Inc. d/b/a The Health Group




provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
Ninety Nine Practice Management, LLC is the parent corporation of Plaintiff SGC Health
Group, Inc. d/b/a The Health Group




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.
The following entites are financially interested in the outcome of this case:
Ninety Nine Practice Management, LLC
North Texas Surgical Oncology Associates
North Central Texas Urology
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                                                              Date:
                                                                                   4/14/2015
                                                              Signature:
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
